Case 3:16-cv-03334-S Document145 Filed 04/25/19 Pagei1of2 PagelD 530

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

CHRISTIAN CLARIGE ET AL
Individually and on behalf of
other similarly situated
individuals,

Plaintiffs,
Civil Action No, 3:16-CV-3334-S
TEXMASTERS EXPRESS INC. DBA

TEXMASTERS EXPRESS MEDICAL
COURIERS

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Defendant.

ORDER APPROVING CONFIDENTIAL SETTLEMENT AGREEMENT
AND GRANTING DISMISSAL WITH PREJUDICE

 

Come on this day for consideration the parties’ Joint Motion for Court Approval of
Settlement and Dismissal with Prejudice. After due consideration, this court is of the opinion that
the Joint Motion should be in all things GRANTED.

The Court finds that the Settlement Agreement referred to in the Joint Motion is an
adequate, fair and reasonable resolution of a bona fide dispute over amounts owed to Plaintiffs
and other individuals who filed consents in this action pursuant to the Fair Labor Standards Act
(“FLSA”), and accordingly, the settlement in the above referenced case is APPROVED.

It is further ORDERED, ADJUGED, and DECREED that all claims asserted by

Plaintiffs against Defendants in this matter are hereby DISMISSED with PREJUDICE.

ORDER APPROVING CONFIDENTIAL SETTLEMENT AGREEMENT
AND GRANTING DISMISSAL WITH PREJUDICE — Page |

 

 
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SIGNED this dey 29 of April, 2079.

 

HON ORABLE KAREN GREN SCHOLER

ORDER APPROVING CONFIDENTIAL SETTLEMENT AGREEMENT
AND GRANTING DISMISSAL WITH PREJUDICE — Page 2

 
